                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                  1:06cr106


UNITED STATES OF AMERICA                          )
                                                  )
Vs.                                               )             ORDER
                                                  )
VICHITTRA PRASONGPHINE.                           )
______________________________________            )


       THIS CAUSE came on before the undersigned on November 17, 2006, pursuant to

a Petition for Warrant or Summons (#300) that had been filed by the United States Probation

Office requesting that the undersigned issue a warrant for the arrest of the defendant due to

allegations contained in the petition that the defendant had failed to report to the United

States Probation Office within 72 hours of release from the custody of the Bureau of Prisons.

It now appears to the court, from information provided by the United States Probation Office,

that the defendant could not report to the United States Probation Office because she had

been taken into custody at the time of her release from the Bureau of Prisons by the United

States Immigration authorities. The United States Probation Office has requested that the

undersigned withdraw the warrant for arrest that was authorized and issued by this court on

November 17, 2006. It appearing that good cause has been shown, the undersigned enters

the following order:

                                         ORDER

       IT IS HEREBY ORDERED that the warrant (#300) issued in this matter for the

arrest of the defendant is hereby ordered to be WITHDRAWN.



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                                Signed: November 29, 2006




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